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 5
 6    ATTORNEY FOR Defendant,
      JESSE MENDOZA
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 8
 9                                 UNITED STATES DISTRICT COURT
10                                EASTERN DISTRICT OF CALIFORNIA
11                                               ******
12    UNITED STATES OF AMERICA,                           Case No.: 1:15-CR-00329-DAD-BAM
13                   Plaintiff,                           STIPULATION AND ORDER TO
14           v.                                           CONTINUE MOTIONS HEARING

15                                                        Date: October 15, 2018
                                                          Time: 10:30 a.m.
16    JESSE MENDOZA and CHRISTOPHER                       Courtroom: 8
17                                                        Hon. Barbara A. McAuliffe
      VALDEZ,
18                   Defendants.
19
             Plaintiff, United States of America, by and through its counsel of record, and
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      defendants, by and through their counsels of record, hereby stipulate as follows:
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             1.      By previous order, this matter was set for a Motions Hearing on October 15,
22
      2018, at 10:30 a.m.
23
             2.      By this stipulation, defendants now move to continue the Motions Hearing to
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      November 1, 2018, at 10:00 a.m. and to exclude time between October 15, 2018, and
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      November 1, 2018, under 18 U.S.C.§ 3161(h)(7)(A), B(iv). Plaintiff does not oppose this
26
      request.
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             3.      The parties agree and stipulate, and request that the Court find the following:
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                     a.      By order of the court all pre-trial discovery motions were to be filed on
                                                      1
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 1           September 24, 2018, all responsive motions were to be filed on October 1, 2018, and all
 2           reply motions to be filed on October 9, 2018.
 3                     b.     The court issued a minute order on October 9, 2018, requesting that
 4           counsel meet and confer before October 11, 2018, and that said counsel is to notify the
 5           court clerk of any remaining issues no later than 10:00 a.m. on October 11, 2018.
 6                     c.     Defense counsel Capozzi will be out of the state beginning on October
 7           10, 2018, and will be returning on October 14, 2018. He needs additional time to meet
 8           and confer with co-counsel and the government regarding the filed discovery motions.
 9                     d.     The government does not object to the continuance.
10                     e.     For the purpose of computing time under the Speedy Trial Act, 18
11           U.S.C. § 3161, et seq., within which trial must commence, the time period of October
12           15, 2018, to November 1, 2018, inclusive, is deemed excludable pursuant to 18 U.S.C.§
13           3161(h)(7)(A), B(iv) because it results from a continuance granted by the Court at
14           defendant’s request on the basis of the Court's finding that the ends of justice served by
15           taking such action outweigh the best interest of the public and the defendant in a speedy
16           trial.
17           4.        Nothing in this stipulation and order shall preclude a finding that other
18    provisions of the Speedy Trial Act dictate that additional time periods are excludable from the
19    period within which a trial must commence.
20
21    IT IS SO STIPULATED.
22                                               Respectfully submitted,
23     Dated:         October 10, 2018      By: /s/Melanie L. Alsworth
                                                MELANIE L. ALSWORTH
24
                                                Assistant United States Attorney
25
26
27     Dated:         October 10, 2018      By: /s/Anthony P. Capozzi
                                                ANTHONY P. CAPOZZI
28                                              Attorney for JESSE MENDOZA



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 1
       Dated:     October 10, 2018       By: /s/Carol A. Moses
 2                                           CAROL A. MOSES
                                             Attorney for CHRISTOPHER VALDEZ
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 5
                                               ORDER
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             The court has reviewed and considered the stipulation of the parties to continue the
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      motions hearing in this case. Good cause appearing, the current motions hearing is hereby
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      continued from October 15, 2018 to November 1, 2018, at 10:00 a.m. before Magistrate Judge
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      Barbara A. McAuliffe.
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12
      IT IS SO ORDERED.
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14       Dated:    October 10, 2018                        /s/ Barbara A. McAuliffe             _
                                                       UNITED STATES MAGISTRATE JUDGE
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